                      UNITED STATES DISTRICT COURT

                         DISTRICT OF SOUTH DAKOTA

                               SOUTHERN DIVISION


DERECK VICE,                                       4:16-CV-04127-KES

                  Plaintiff,

     vs.

DENNIS KAEMINGK, Secretary of
Department of corrections;
DARRIN YOUNG, Warden, South                 ORDER DENYING MOTION FOR
Dakota State Penitentiary; BOB                PRELIMINARY INJUNCTION,
DOOLEY, Director of Prison                   DENYING MOTION TO APPOINT
Operations and Warden of Mike              COUNSEL, DENYING MOTION TO
Durfee State Prison; ANGELA                  EXTEND DEADLINE, DENYING
STIENKE, Coordinator West Hall;                MOTION FOR TEMPORARY
KEITH DITMANSON, West Hall Unit             RESTRAINING ORDER, DENYING
Manager; DOCTOR EUGENE REIGER,             MOTION TO COMPEL, DISMISSING
SDSP Medical Department; JESSICA               COMPLAINT IN PART, AND
STEVENS, Charge nurse, SDSP                      DIRECTING SERVICE
Department of Health; TROY PONTO,
Associate Warden, Supervisor of
Medical Services; DR. MARY
CARPENTER; LT. FITZU; C/O BOYSEN;
C/O ROBERT KIRVIN; PA TAMMY; and
DR. JOE HANVEY

                  Defendants.


                                INTRODUCTION

      Plaintiff, Dereck Vice, is an inmate at the South Dakota State

Penitentiary in Sioux Falls. Plaintiff filed an amended complaint and moves for

a temporary restraining order and requests that the court appoint him
counsel. For the following reasons, the court denies Vice’s motions, dismisses

his complaint in part, and directs service.

                           FACTUAL BACKGROUND

       According to Vice’s complaint, Vice is disabled and has been classified

as disabled for a long time. Docket 1 at 1-2. At one point he had access to a

wheelchair and a cane in prison because of his medical conditions. Id. at 2. He

has a life threatening disorder for which he uses a “CPAP” machine. Id.

       Vice has had many tests on and evaluations of his back at CORE

Orthopedics, including a CT scan and an MRI. Id. An outside specialist

recommended that he have surgery, but when defendants submitted a request

for this surgery to the South Dakota Department of Health, it was denied. Id.

Vice grieved this issue through the prison grievance system, but was denied

relief. Id.

       Vice alleges that he is immobile as a result of defendants’ refusal to

authorize necessary surgery and the use of a wheelchair. Docket 10 at 2. He

cannot attend church services, meals, or recreation time, and he cannot use

the law library or showers. Id. On October 15, 2016, he suffered another fall

that made his injuries worse. Docket 13 at 2. He is not receiving any medical

treatment. Id.

       On September 6, 2016, Vice filed a complaint. Docket 1. He did not raise

distinct claims but mentioned the issues outlined above. Vice moved the court

to issue a temporary restraining order “to stop Haraaament [sic] and

Retaliation and Order the surgery that was approved to proceed.” Id. at 3.

                                         2
      The court found that Vice had failed to state a claim upon which relief

could be granted and ordered him to amend his complaint or it would be

dismissed. Docket 8. Vice then filed a motion for injunction, a motion to

appoint counsel, and an amended complaint. Docket 9; Docket 10; Docket 13.

In his amended complaint, Vice again requests that the court enter a

temporary restraining order and appoint him counsel. Docket 13.

                              LEGAL STANDARD

      The court must accept the well-pleaded allegations in the complaint as

true and draw all reasonable inferences in favor of the non-moving party.

Schriener v. Quicken Loans, Inc., 774 F.3d 442, 444 (8th Cir. 2014). Civil rights

and pro se complaints must be liberally construed. Erickson v. Pardus, 551

U.S. 89, 94 (2007) (citation omitted); Bediako v. Stein Mart, Inc., 354 F.3d 835,

839 (8th Cir. 2004). Even with this construction, “a pro se complaint must

contain specific facts supporting its conclusions.” Martin v. Sargent, 780 F.2d

1334, 1337 (8th Cir. 1985); Ellis v. City of Minneapolis, 518 F. App'x 502, 504

(8th Cir. 2013). Civil rights complaints cannot be merely conclusory. Davis v.

Hall, 992 F.2d 151, 152 (8th Cir. 1993); Parker v. Porter, 221 F. App'x 481, 482

(8th Cir. 2007).

      A complaint “does not need detailed factual allegations . . . [but] requires

more than labels and conclusions, and a formulaic recitation of the elements of

a cause of action will not do.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555

(2007). “If a plaintiff cannot make the requisite showing, dismissal is

appropriate.” Abdullah v. Minnesota, 261 F. App’x 926, 927 (8th Cir. 2008);

                                        3
Beavers v. Lockhart, 755 F.2d 657, 663 (8th Cir. 1985). Under 28 U.S.C.

§ 1915A, the court must screen prisoner complaints and dismiss them if they

are “(1) frivolous, malicious, or fail[] to state a claim upon which relief may be

granted; or (2) seek[] monetary relief from a defendant who is immune from

such relief.” 1915A(b).

                                   DISCUSSION

      In both his original and amended complaints, Vice alleges that

defendants violated his rights under the Eighth Amendment, the Americans

with Disabilities Act (ADA), and the Rehabilitation Act (RA). Docket 1; Docket

9; Docket 13. He also moves for a temporary restraining order and requests

that the court appoint counsel. Docket 9; Docket 10; Docket 13.

I.    Screening Under § 1915A

      A.    The Complaints

      Vice filed a complaint and an amended complaint. Docket 1; Docket 13.

He also filed a motion to extend the deadline to file an amended complaint and

a proposed amended complaint. Docket 10. The court construes these together

as constituting Vice’s complaint. Kiir v. N.D. Pub. Health, 651 F. App’x 567,

568 (8th Cir. 2016) (amendment “intended to supplement, rather than to

supplant, the original complaint,” should be read together with original

complaint as plaintiff’s complaint).

      B.    Unmentioned Defendants

      Vice named Dennis Kaemingk, Darrin Young, Bob Dooley, Angela

Stienke, Keith Ditmanson, Doctor Eugene Reiger, Jessica Stevens, and Troy


                                         4
Ponto as defendants. He does not, however, plead any facts showing that these

defendants violated his rights. Vice fails to state a claim upon which relief may

be granted as to these defendants, and they are dismissed as defendants

under 28 U.S.C. §§ 1915(e)(2)(B)(ii) and 1915A(b)(1).

      C.    Individual Capacity Claims

      In its Order Granting Leave to Amend, the court dismissed Vice’s claims

under the ADA and RA that were brought against defendants in their

individual capacities. Docket 8 at 5. In his amended complaint, Vice

voluntarily dismisses these claims. Docket 13 at 1. Therefore, Vice’s ADA and

RA claims against defendants in their individual capacities are dismissed.

      D.    Deliberate Indifference

      To state an Eighth Amendment deliberate indifference claim, Vice must

allege that he was in “a substantial risk of serious harm,” and that defendants

were “deliberately indifferent to that risk of harm . . . .” Letterman v. Does, 789

F.3d 856, 861-62 (8th Cir. 2015) (citing Gordon v. Frank, 454 F.3d 858, 862

(8th Cir. 2006)). To meet the deliberately indifferent element, a defendant

“must ‘know[ ] of and disregard[ ] an excessive risk to inmate health or

safety.’ ” Id. at 862 (quoting Farmer v. Brennan, 511 U.S. 825, 837 (1994)). To

show that defendants knew of the substantial risk of serious harm, Vice does

not need to show actual knowledge; the court “can infer knowledge if the risk

was obvious.” Id. It is enough to show that the defendant “had been exposed to

information concerning the risk and thus ‘must have known’ about it.” Id.

(quoting Farmer, 511 U.S. at 842).


                                         5
      Vice must also show that defendants “ ‘knew that their conduct was

inappropriate in light of’ the risk to the prisoner.” Id. (quoting Krout v.

Goemmer, 583 F.3d 557, 567 (8th Cir. 2009)). “Knew” in this context means

more than negligence and is “akin to the criminal rule of ‘recklessness.’ ” Id.

(quoting Farmer, 511 U.S. at 839-40). “Generally, the actor manifests

deliberate indifference by ‘intentionally denying or delaying access to medical

care, or intentionally interfering with treatment or medication that has been

prescribed.’ ” Id. (quoting Krout v. Goemmer, 583 F.3d 557, 567 (8th Cir.

2009)).

      Vice alleges that Dr. Mary Carpenter refused to authorize surgery for

him that was recommended by a specialist. Docket 10 at 2. He also alleges

that after his fall and disability, numerous defendants were deliberately

indifferent to his injury. He alleges that Correctional Officers Boyson and

Robert Kirvin sprayed him with mace because he was unable to stand or walk,

and he alleges Lt. Fitzu “got [him] maced two times . . . .” Docket 10 at 2. He

alleges that Sgt. Herrman and Correctional Officer Stoymuet forced him to

stand, even though his injuries made him unable to stand. Id. He alleges that

PA Tammy Top took his cane and refused him a wheelchair even though he

needed it. Id. Finally, he alleged that Dr. Joe Hanvey refused him a

wheelchair, does not let him shower, and is not treating an infection Vice is

suffering from. Id. Assuming the facts alleged in the complaint and amended

complaint to be true, the court finds that these allegations state a claim of

deliberate indifference under the Eighth Amendment against defendants

                                          6
Dr. Carpenter, Boyson, Kirvin, Fitzu, Herrman, Stoymuet, Top, and

Dr. Hanvey. These claims survive screening.

      E.       Claims Based on Medical Treatment Decisions

      Vice alleges that Dr. Carpenter denied him surgery that was

recommended by a specialist. Id. To the extent Vice seeks to raise a claim

under the RA or the ADA that he was denied surgery, he fails to state a claim.

Claims “based on medical treatment decisions . . . cannot form the basis of a

claim under the RA or the ADA.” Dinkins v. Corr. Med. Servs., 743 F.3d 633,

634 (8th Cir. 2014). Therefore, Vice fails to state a claim under the ADA or the

RA, and this claim is dismissed under 28 U.S.C. §§ 1915(e)(2)(B)(ii) and

1915A(b)(1).

      F.       ADA Claim

      Vice alleges that defendants violated Title II of the ADA, which “provides

that ‘no qualified individual with a disability shall, by reason of such

disability, be excluded from participation in or be denied the benefits of the

services, programs, or activities of a public entity, or be subjected to

discrimination by any such entity.’ ” Bahl v. Cty. of Ramsey, 695 F.3d 778,

783 (8th Cir. 2012) (quoting 42 U.S.C. § 12132). In order to state a claim

under Title II of the ADA, Vice must allege:

      (1) that he is a qualified individual with a disability; (2) that he was
      excluded from participation in or denied the benefits of the jail's
      services, programs, or activities, or was otherwise subjected to
      discrimination by the jail; and (3) that such exclusion, denial of
      benefits, or other discrimination was by reason of his disability.

Baribeau v. City of Minneapolis, 596 F.3d 465, 484 (8th Cir. 2010).


                                         7
      Vice alleges that he is disabled. Docket 1 at 1. He alleges that he cannot

access the law library or health services and that he cannot attend church or

recreation services. Docket 13 at 3. He alleges this was caused by defendants

refusing him surgery and a wheelchair. Id. He, therefore, states a claim under

Title II of the ADA against the defendants who refused him surgery and a

wheelchair: Dr. Carpenter, Top, and Dr. Hanvey.

      G.     Rehabilitation Act Claim

      Vice alleges that defendants violated § 504 of the RA, which states that

“[n]o otherwise qualified individual with a disability in the United States . . .

shall, solely by reason of her or his disability, be excluded from the

participation in, be denied the benefits of, or be subjected to discrimination

under any program or activity receiving Federal financial assistance.’ ” 29

U.S.C. § 794(a). “To establish unlawful discrimination under § 504, [Vice]

‘must demonstrate that: (1) he is a qualified individual with a disability; (2) he

was denied the benefits of a program or activity of a public entity which

receives federal funds, and (3) he was discriminated against based on his

disability.’ ” Turner v. Mull, 784 F.3d 485, 494 (8th Cir. 2015) (quoting Gorman

v. Bartch, 152 F.3d 907, 911 (8th Cir. 1998)).

      “The ADA and § 504 of the Rehabilitation Act are ‘similar in substance’

and, with the exception of the Rehabilitation Act’s federal funding

requirement, ‘cases interpreting either are applicable and interchangeable’ for

analytical purposes.” Bahl, 695 F.3d at 783 (quoting Randolph v. Rodgers, 170

F.3d 850, 858 (8th Cir. 1999)). Further, for the purpose of screening under


                                         8
§ 1915, the court assumes that the South Dakota Department of Corrections

receives federal funds. See Cutter v. Wilkinson, 544 U.S. 709, 716 n.4 (2005)

(“Every State . . . accepts federal funding for its prisons”); Sisney v. Reisch,

533 F. Supp. 2d 952, 984 (D.S.D. 2008), aff'd in part, rev'd in part sub nom.

Van Wyhe v. Reisch, 581 F.3d 639 (8th Cir. 2009), and aff'd, 674 F.3d 839

(8th Cir. 2012) (South Dakota, as defendant, admitted accepting federal

funding for its prisons). Vice, therefore, states a claim under § 504 of the RA

against the defendants who refused him surgery and a wheelchair:

Dr. Carpenter, Top, and Dr. Hanvey.

II.   Motions for Temporary Restraining Order and Preliminary
      Injunction

      Vice again moves the court to enter a temporary restraining order and

preliminary injunction. Docket 9; Docket 13. The four factors the court

considers in determining whether to grant preliminary injunctive relief are:

“ ‘(1) the threat of irreparable harm to the movant; (2) the state of balance

between this harm and the injury that granting the injunction will inflict on

other parties litigant; (3) the probability that movant will succeed on the

merits; and (4) the public interest.’ ” Barrett v. Claycomb, 705 F.3d 315, 320

(8th Cir. 2013) (quoting Dataphase Sys., Inc. v. C L Sys., Inc., 640 F.2d 109,

114 (8th Cir. 1981)). Since Dataphase, the Eighth Circuit Court of Appeals has

“observed that the ‘likelihood of success on the merits is most significant.’ ” Id.

(quoting S.J.W. ex rel. Wilson v. Lee's Summit R-7 Sch. Dist., 696 F.3d 771, 776

(8th Cir. 2012)).



                                          9
       At this stage, Vice cannot show that he is likely to succeed on the

merits. He has only stated a claim upon which relief may be granted. The

defendants have not been served and have not had a chance to respond.

Therefore, Vice’s motions for a temporary restraining order and preliminary

injunction are denied.

III.   Motion to Appoint Counsel

       Vice requests that the court appoint him counsel. Docket 13. “A pro se

litigant has no statutory or constitutional right to have counsel appointed in a

civil case.” Stevens v. Redwing, 146 F.3d 538, 546 (8th Cir. 1998). In

determining whether to appoint counsel to a pro se litigant, the district court

considers the complexity of the case, the ability of the litigant to investigate

the facts, the existence of conflicting testimony, and the litigant’s ability to

present his claim. Id. At this point, Vice is able to present his claim, and it is

too early in litigation to determine the other factors. Therefore, Vice’s motion to

appoint counsel is denied.

IV.    Motion to Compel

       Vice moves the court to order the defendants to stop denying him access

to the courts. Docket 14. He alleges that he has evidence that is necessary to

his amended complaint. Id. While this evidence may be relevant at later stages

of this case, it is not necessary for the court to review at the screening stage

because the court only considers the allegations that are made in the

complaint and assumes the allegations to be true. See Gorog v. Best Buy Co.,

760 F.3d 787, 791 (8th Cir. 2014) (“matters outside the pleading may not be


                                         10
considered in deciding a Rule 12 motion to dismiss”). Therefore, Vice’s motion

to compel is denied.

      Thus, it is ORDERED

      1.   Vice fails to state a claim against Dennis Kaemingk, Darrin Young,

           Bob Dooley, Angela Stienke, Keith Ditmanson, Doctor Eugene

           Reiger, Jessica Stevens, and Troy Ponto. They are dismissed as

           defendants under 28 U.S.C. §§ 1915(e)(2)(B)(ii) and 1915A(b)(1).

      2.   Vice’s Eighth Amendment claims against Dr. Carpenter, Boyson,

           Kirvin, Fitzu, Herrman, Stoymuet, Top, and Dr. Hanvey survive

           screening.

      3.   Vice’s ADA and RA claims against Dr. Carpenter, Top, and

           Dr. Hanvey survive screening.

      4.   The Clerk shall send blank summons forms to Vice so he may

           cause the summons and complaint to be served upon the

           defendants.

      5.   The United States Marshal shall serve a copy of the complaint

           (Docket 1; Docket 10; Docket 13), Summons, and this Order upon

           defendants as directed by Vice. All costs of service shall be

           advanced by the United States.

      6.   Defendants will serve and file an answer or responsive pleading to

           the remaining claims in the complaint on or before 21 days

           following the date of service.




                                        11
7.   Vice will serve upon defendants, or, if appearance has been entered

     by counsel, upon their counsel, a copy of every further pleading or

     other document submitted for consideration by the court. He will

     include with the original paper to be filed with the clerk of court a

     certificate stating the date and that a true and correct copy of any

     document was mailed to defendants or their counsel.

8.   Vice’s motion for preliminary injunction and appointment of

     counsel (Docket 9) is denied.

9.   Vice’s motion for a temporary restraining order and appointment of

     counsel (Docket 13) is denied.

10. Vice’s motion to extend the deadline to amend his complaint

     (Docket 10) is denied as moot.

11. Vice’s motion to compel (Docket 14) is denied.

12. Vice will keep the court informed of his current address at all times.

     All parties are bound by the Federal Rules of Civil Procedure and by

     the court’s Local Rules while this case is pending.

Dated December 15, 2016.

                                BY THE COURT:
                                /s/ Karen E. Schreier
                                KAREN E. SCHREIER
                                UNITED STATES DISTRICT JUDGE




                                  12
